           Case 2:05-cr-00447-GEB Document 90 Filed 05/06/08 Page 1 of 3




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7
8                   IN THE UNITED STATES DISTRICT COURT FOR THE
9                         EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,          )         CR-S-05-447-GEB
                                        )
12             Plaintiff,               )         FINAL ORDER OF FORFEITURE
                                        )
13        v.                            )
                                        )
14   JESUS HUERTA,                      )
                                        )
15             Defendant.               )
     ___________________________________)
16
17        WHEREAS, on August 30, 2007, this Court entered a Preliminary
18   Order of Forfeiture pursuant to the provisions of 17 U.S.C. §§
19   506(b) and 509(a), and 18 U.S.C. § 2318(d) based upon the plea
20   agreement entered into between plaintiff and defendant Jesus Huerta
21   forfeiting to the United States the following property:
22             a.     Approximately 54,009 CD’s seized in September 2005
                      and on October 6, 2005, and
23
               b.     Approximately 1,302 DVD’s seized in September 2005
24                    and on October 6, 2005.
25        AND WHEREAS, the Court has been advised that defendant Rosa
26   Isela Huerta agreed to forfeit to the United States voluntarily and
27   immediately all of her right, title and interest to any and all
28   assets subject to forfeiture pursuant to 17 U.S.C. §§ 506(b) and

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            Case 2:05-cr-00447-GEB Document 90 Filed 05/06/08 Page 2 of 3




1    509(a), and 18 U.S.C. § 2318(d).
2          AND WHEREAS, on February 15, 22 and 29, 2008, the United States
3    published notice of the Court’s Preliminary Order of Forfeiture in
4    the San Jose Post-Record (Santa Clara County), a newspaper of
5    general circulation located in the county in which the subject
6    property was seized;
7          AND WHEREAS, on February 28, March 6 and 13, 2008, the United
8    States also published notice of the Court’s Preliminary Order of
9    Forfeiture in the Stockton Record (San Joaquin County), a newspaper
10   of general circulation located in the county in which the subject
11   property was also seized.      Said published notices advised all third
12   parties of their right to petition the Court within thirty (30) days
13   of the publication dates for a hearing to adjudicate the validity of
14   their alleged legal interest in the forfeited property;
15         AND WHEREAS, the Court has been advised that no third party has
16   filed a claim to the subject property, and the time for any person
17   or entity to file a claim has expired.
18         Accordingly, it is hereby ORDERED and ADJUDGED:
19         1.   A Final Order of Forfeiture shall be entered forfeiting to
20   the United States of America all right, title, and interest in the
21   above-listed property pursuant to 17 U.S.C. §§ 506(b) and 509(a),
22   and 18 U.S.C. § 2318(d), to be disposed of according to law,
23   including all right, title, and interest of defendants Jesus Huerta
24   and Rosa Isela Huerta.
25         2.   All right, title, and interest in the above-listed property
26   shall vest solely in the United States of America.
27   ///
28   ///

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              Case 2:05-cr-00447-GEB Document 90 Filed 05/06/08 Page 3 of 3




1         3.    The Department of Homeland Security, U.S. Secret Service,
2    shall maintain custody of and control over the subject property
3    until it is disposed of according to law.
4    Dated:    May 6, 2008
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6                                       GARLAND E. BURRELL, JR.
7                                       United States District Judge

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